

Lettau v 1199 SEIU Natl. Benefit Fund (2021 NY Slip Op 06806)





Lettau v 1199 SEIU Natl. Benefit Fund


2021 NY Slip Op 06806


Decided on December 07, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 07, 2021

Before: Acosta, P.J., Gische, Webber, Friedman, Kennedy, JJ. 


Index No. 158020/18 Appeal No. 14784 Case No. 2021-01656 

[*1]Edward Lettau, Plaintiff-Appellant,
v1199 SEIU National Benefit Fund, Defendant-Respondent.


Michael G. O'Neill, New York, for appellant.
Ian A. Weinberger, New York, for respondent.



Order, Supreme Court, New York County (Arlene P. Bluth, J.), entered on or about January 15, 2021, which granted defendant's motion for summary judgment dismissing the complaint brought under the New York City Human Rights Law, unanimously reversed, on the law, without costs, and the motion denied.
Defendant's summary judgment motion should have been denied because the record raises an issue of fact as to whether defendant fulfilled its obligation to engage in a cooperative dialogue with plaintiff, a disabled employee, to determine whether a reasonable accommodation of his disability could be devised (see Administrative Code of City of NY § 8-107[28][a][2] [making it unlawful for an employer "to refuse or otherwise fail to engage in a cooperative dialogue within a reasonable time with a person who has requested an accommodation . . . (r)elated to a disability"]; see also Administrative Code § 8-102 [defining "cooperative dialogue" and "reasonable accommodation"]; Administrative Code § 8-107[15][a] [requiring employers "to make reasonable accommodation to the needs of persons with disabilities"]; Hosking v Memorial Sloan-Kettering Cancer Ctr., 186 AD3d 58, 65 [1st Dept 2020]). In view of this determination, we need not reach the remaining issues raised by the parties.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: December 7, 2021








